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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA,

PITTSBURGH DIVISION Fy fl
UNITED STATES OF AMERICA § APR O89 Zo1g
§
CLERK
vs. § WE! 8, DISTRICT
§ 2:12-CR-92-CB PIT. OF PENNSVi vara
MAYANK MISHRA §

NOTICE OF APPEAL
OF ORDER DENYING ATTORNEY DAPHNE SILVERMAN’S MOTION
FOR RELIEF FROM COURT’S ORDER REVOKING PRO HAC VICE

Notice is hereby given that Attorney Daphne Silverman, pro se, appeals to the
United States Court of Appeals for the Third Circuit this Court’s Order in Document
606 Denying Attorney Daphne Silverman’s Motion for Relief from this Court’s Order

revoking Daphne Silverman’s pro hac vice status. The Motion for Relief is Document

605.

Respectfully submitted on this the 2" day of ne
fp

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